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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                              DENVER DIVISION

   CHARLES WILLIAMS,

                         Plaintiff,

                    v.
                                                           Case No.
                                                           1:21-cv-02595-LTB-GPG
  COLORADO DEPARTMENT OF
  CORRECTIONS,

                         Defendant.




            WILLIAMS’S OBJECTIONS TO THE REPORT AND
                       RECOMMENDATION


         On December 16, 2021, Magistrate Judge Gallagher submitted a Report and

   Recommendation recommending that the Court dismiss Mr. Williams’s First

   Amended Complaint (ECF No. 10) at the screening stage pursuant to 28 U.S.C. §

   1915(e)(2)(B)(i). (ECF No. 13). Pursuant to 28 U.S.C. § 636(b)(1) and Fed. R.

   Civ. P. 72(b) Mr. Williams now respectfully makes the following objections to the

   Report and Recommendation. The Recommendation should not be adopted, and

   the matter should not be dismissed.




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         Mr. Williams is a prisoner at Buena Vista Correctional Complex in the

   custody of the Colorado Department of Corrections (CDOC). (ECF No. 10 at ¶¶2-

   3). Mr. Williams filed an amended complaint alleging, among other things, that his

   rights under the Americans with Disabilities Act (ADA) and Rehabilitation Act

   (RA)1 were violated when he was punished for not completing a work assignment

   that he was unable to perform because of his disabilities.2

         The Report and Recommendation provides two reasons why Mr. Williams’s

   claims should be dismissed. First, the Magistrate Judge concluded that Mr.

   Williams does not allege sufficient facts for his ADA claims because he:

         …alleges he was fired from his prison job because he failed to
         report to work, and that, because he was fired from his prison
         job, he was reclassified and lost privileges. He does not allege
         facts that demonstrate he was fired from his prison job or
         reclassified because of his disability. (ECF No. 13 at 5).

         Next, the Magistrate Judge cited White v. State of Colorado for the

   proposition that “Mr. Williams cannot state an arguable claim for relief under the

   ADA or the Rehabilitation Act premised on the alleged assignment to a prison job

   he was incapable of performing or the alleged failure to provide a workplace


   1
     Below Plaintiff refers to his claims under both the ADA and the Rehabilitation
   Act as his “ADA claim,” as “Title II of the ADA and § 504 of the RA are nearly
   identical, both in content and remedial provisions.” Lovell v. Chandler, 303 F.3d
   1039, 1051 (9th Cir. 2002).
   2
     “Mr. Williams has long suffered from chronic back pain and bilateral peripheral
   neuropathy that places substantial limitations on many of his major life activities,
   including walking, standing, bending, and climbing.” (ECF No. 10 at ¶10).

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   accommodation for his disabilities.” Id. Both reasons provided for dismissal in are

   in error.

          The first reason is in error because Mr. Williams does in fact allege facts that

   he suffered consequences because of his disability. In his First Amended

   Complaint Mr. Williams clearly alleges that he is a qualified individual with a

   disability and explains that his disability prevents him from doing the precise work

   assigned to him in the kitchens. (ECF No. 10 at ¶¶11-15). He then explains how he

   nonetheless reported to his kitchen job only to be summarily turned away every

   day because of his disability. (ECF No. 10 at ¶¶17-20). He then describes one date

   where he had a medical emergency resulting from his disability, put in a medical

   emergency request, and did not go to the kitchen job assignment because he was

   experiencing a medical emergency and because he had been repeatedly turned

   away from the kitchen because of his disability and could expect the same on this

   day. (ECF No. 10 at ¶21). This states a paradigmatic violation of the ADA. Mr.

   Williams has a disability, was assigned to a job he could not perform because of

   that disability, put CDOC on notice through multiple methods, and then was

   punished when he had a medical emergency resulting from his disability and did to

   report to the job that he was nonetheless barred from performing. The ADA

   establishes an affirmative duty to reasonably accommodate disabilities and at no




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   point did CDOC switch his job to one he could perform or allow him to not go to

   work in the midst of a medical emergency. Instead, they punished him for it.

         The second reason provided by the Magistrate Judge for the

   Recommendation of dismissal improperly relies on White v. State of Colorado as

   establishing the principle that the ADA and RA cannot apply to prison work

   assignments. (ECF No. 13 at 5). While White does contain language that supports

   the conclusion of the Report and Recommendation, the line of reasoning in White

   and the resulting holding have been squarely overruled by the Supreme Court.

   White states that “[t]he Rehabilitation Act, however, does not apply to issues of

   prison employment.” White v. State of Colo., 82 F.3d 364, 367 (10th Cir. 1996)

   (citing Williams v. Meese, 926 F.2d 994, 997 (10th Cir.1991)). And goes on to say

   that “[f]or the same reasoning relied upon in Williams, we hold that the ADA does

   not apply to prison employment situations either.” Id. But, the holding of Williams

   v. Meese, is not specific to employment, rather the Tenth Circuit held that the RA

   does not apply to prisons at all. 926 F.2d 994, 997 (10th Cir.1991) (holding that

   “…the Rehabilitation Act … does not give plaintiff any substantive rights since the

   Federal Bureau of Prisons does not fit the definition of ‘programs or activities’

   governed by that section.”). This holding was squarely addressed and overruled by

   the Supreme Court in Pennsylvania Dep't of Corr. v. Yeskey, 524 U.S. 206 (1998).

   In Yesky, the Supreme Court was presented with arguments that prisons do not



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   provide “programs, activities, services, or benefits” as defined by the ADA and

   squarely held that prisons fall within the ambit of the ADA. Pennsylvania Dep't of

   Corr. v. Yeskey, 524 U.S. 206, 210 (1998) (“Modern prisons provide inmates with

   many recreational ‘activities,’ medical ‘services,’ and educational and vocational

   ‘programs,’ all of which at least theoretically ‘benefit’ the prisoners (and any of

   which disabled prisoners could be ‘excluded from participation in’).”). Yesky

   entirely undermines the holding of Williams v. Meese and makes the equivalent

   holding in White v. State of Colo. equally infirm. By contrast, the analysis from

   Yesky paints a clear roadmap for resolution of Mr. Williams’s case. The CDOC,

   much like the Pennsylvania Department of Corrections in Yesky, is a public entity

   as defined by the ADA and it provides programs, services, or activities also as

   defined by the ADA, including its work program. Because the legal standard cited

   by the Magistrate Judge in support of his Report and Recommendation is no longer

   valid, the second reason provided for dismissal is in error.



                                     CONCLUSION

         For the foregoing reasons, Mr. Williams respectfully objects to the Magistrate

   Judge’s Report and Recommendation. The matter should not be dismissed.




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   Submitted on December 28, 2021.

                                                 /s/ Samuel Weiss
                                                 Rights Behind Bars
                                                 416 Florida Avenue NW
                                                 Unit 26152
                                                 Washington, DC 20001
                                                 (202) 455-4399
                                                 sam@rightsbehindbars.org
                                                 Attorney for Plaintiff




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                            CERTIFICATE OF SERVICE

         I hereby certify that on December 29, 2021 I electronically filed the foregoing

   Objections with the clerk of the court for the United States District Court for the

   District of Colorado, using the CM/ECF system.



                                                       /s/ Samuel Weiss
                                                       Attorney for Plaintiff




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